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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


                                           )
145 SISSON AVENUE, LLC                     )
                                           )
                    PLAINTIFF              )     CIVIL ACTION NO.:
                                           )
V.                                         )     3:23-CV-00903-MPS
                                           )
ARON PURETZ                                )
                                           )
                    DEFENDANT              )
                                           )     JUNE 12, 2024


                 SUPPLEMENTAL BRIEF RE: CHARGING ORDER

        On June 3, 2024, this court ordered Plaintiff 145 Sisson

Avenue, LLC to be prepared to answer the following questions

(#52):

        the Court's authority to

         (1) issue charging orders affecting the interests and

prohibiting the activities of LLC members and partners who are

not parties to this case (ECF Nos. 41-2, 3-5; 47-2, 3-5), and

         (2) order the charged entities to provide the extensive

financial disclosures he seeks.         ( ECF Nos. 41-2, 6-7; 4 7-2, 6-

7.)

        Out of an abundance of caution, Plaintiff submits this

written supplemental brief regarding motions for charging

order #41 and #47.

        Pursuant to FRCP 69(a) (1) and (2), it is Connecticut's

procedure that governs executions and discovery in aid of
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executions. Courts have generally not issued lengthy opinions

about charging orders.

           By way of example, counsel is aware of charging orders

being entered in three cases, Jenzack Partners v. Stoneridge

Associates MMX-CV-XX-XXXXXXX-S (one of 14 charging orders

entered, attached as Exhibit 1-identical to this requested

charging order), William Bernard v. Leonard Vincent Lombard,

l 7-MC-179 (VLB)                   (attached as Exhibit 2-identical to this

requested charging order) and Anthoy Dippa v. Fulbrook Capital

Magmt, 19-CV-1386 (KAD)                             (attached as exhibit 3-very much

reduced). There was no discussion about charging orders in any

of these cases.

           Osprey Portfolio, LLC v. Wilmot, 2024 WL 2150313 does

discuss charging orders (copy of opinion attached as Exhibit

4). According to that case, a charging order must enter if the

court finds:

           1.        Plaintiff is the judgment creditor (clearly obvious

                     from the record in this case).

           2.        Defendant is the judgment debtor (once again,

                     clearly obvious from the record in this case).

           3.        Judgment has entered and has not been satisfied

                      (once again, clearly obvious from the record in this

                     case).


                                                            - 2 -
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           While this court did not direct notice be given to the

limited liability companies at issue (despite a call to the

clerk and chambers following up on the draft order to show

cause submitted #41-3 and #47-3), Plaintiff had notice served

by a Connecticut Marshal (see #38). Notice was given to

Defendant by regular mail ( #54)                                      (who was previously summoned

in this case) .

           Defendant has never appeared in this case and has never

responded to anything in this case.



STATUTORY BASIS FOR CHARGING ORDERS

           Charging orders are allowed by statute against limited

liability companies. 1                           In particular, Connecticut General

Statutes §34-259b(b) provides:

           (b)       To the extent necessary to effectuate the
                     collection of distributions pursuant to a
                     charging order in effect under subsection (a)
                     of this section, the court may:

                                 (1)       Appoint a receiver of the
                                           distributions subject to the
                                           charging order, with the power to
                                           make all inquiries the judgment
                                           debtor might have made; and

                                 (2)       make a11 other orders necessary to
                                           give e££ect to the charging order.
                                           [emphasis added]
1Charging orders were originally applied to general
partnerships.  This has been statutorily expanded to limited
partnerships and limited liability companies.

                                                            - 3 -
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Plaintiff believes the proposed orders are necessary to give

effect to the charging order.                                       The Osprey court referred to

the Connecticut Judicial Branch publication entitled Enforcing

Money Judgments and specifically Section 4, Table 3 (attached

as Exhibit 5). The Judicial Department form 17-027 is attached

as Exhibit 6 (which does not contain the additional orders

Plaintiff seeks). The Osprey court entered the charging order

attached as Exhibit 7, which contains some similar additional

orders.



RIGHT TO INFORMATION

           Rights to information about a limited liability company

are defined in Connecticut General Statutes §34-255i, which

provides:

          Rights of member, manager and person disassociated as
          member to information.

            (a)       In a member-managed limited liability company, the
                      following rules apply:

                      (1)       On reasonable notice, a member may inspect and
                                copy during regular business hours, at a
                                reasonable location specified by the company,
                                any record maintained by the company regarding
                                the company's activities, affairs, financial
                                condition and other circumstances to the extent
                                the information is material to the member's
                                rights and duties under the operating agreement
                                or sections 34-243 to 34-283d, inclusive.

                      (2)       The company shall furnish to each member: (A)
                                Without demand, any information concerning the
                                company's activities, affairs, financial
                                                             - 4 -
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                                condition, and other circumstances which the
                                company knows and is material to the proper
                                exercise of the member's rights and duties
                                under the operating agreement or sections 34-
                                243 to 34-283d, inclusive, except to the extent
                                the company can establish that it reasonably
                                believes the member already knows the
                                information; and (B) on demand, any other
                                information concerning the company's
                                activities, affairs, financial condition and
                                other circumstances, except to the extent the
                                demand or information demanded is unreasonable
                                or otherwise improper under the circumstances.

                      (3)       The duty to furnish information under
                                subdivision (2) of this subsection also applies
                                to each member to the extent the member knows
                                any of the information described in said
                                subdivision.

            (b)       In a manager-managed limited liability company, the
                      following rules apply:

                      (1)       The informational rights set forth in
                                subsection (a) of this section and the duty set
                                forth in subdivision (3) of subsection (a) of
                                this section apply to the managers and not the
                                members.

                      (2)       During regular business hours and at a
                                reasonable location specified by the company, a
                                member may inspect and copy full information
                                regarding the activities, affairs, financial
                                condition and other circumstances of the
                                company as is just and reasonable if: (A) The
                                member seeks the information for a purpose
                                reasonably related to the member's interest as
                                a member; (B) the member makes a demand in a
                                record received by the company, describing with
                                reasonable particularity the information sought
                                and the purpose for seeking the information;
                                and (C) the information sought is directly
                                connected to the member's purpose.

                      (3)       Not later than ten days after receiving a
                                demand pursuant to subparagraph (B) of
                                subdivision (2) of this subsection, the company
                                shall in a record inform the member that made
                                             - 5 -
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                                the demand of: (A) The information that the
                                company will provide in response to the demand
                                and when and where the company will provide the
                                information; and (B) the company's reasons for
                                declining, if the company declines to provide
                                any demanded information.

                      (4)       Whenever sections 34-243 to 34-283d, inclusive,
                                or an operating agreement provide for a member
                                to give or withhold consent to a matter, before
                                the consent is given or withheld, the company
                                shall, without demand, provide the member with
                                all information that is known to the company
                                and is material to the member's decision.

           (c)       Subject to subsection (i) of this section, on not
                     less than ten days' demand made in a record received
                     by a limited liability company, a person dissociated
                     as a member may have access to information to which
                     the person was entitled while a member if:

                      (1)       The information pertains to the period during
                                which the person was a member;

                      (2)       The person seeks the information in good faith;
                                and

                      (3)       The person satisfies the requirements imposed
                                on a member by subdivision (2) of subsection
                                (b) of this section.

           (d)       A limited liability company shall respond to a
                     demand made pursuant to subsection (c) of this
                     section in the manner provided in subdivision (3) of
                     subsection (b) of this section.

           (e)       A limited liability company may charge a person that
                     makes a demand under this section the reasonable
                     costs of copying, limited to the costs of labor and
                     material.

           (f)       A member or person dissociated as a member may
                     exercise rights under this section through an agent
                     or, in the case of an individual under legal
                     disability, a legal representative. Any restriction
                     or condition imposed by the operating agreement or
                     under subsection (i) of this section applies both to

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                      the agent or legal representative and the member or
                      person dissociated as a member.

            (g)       Subject to subsection (i) of this section, the
                      rights under this section do not extend to a person
                      as a transferee.

            (h)       If a member dies, the provisions of section 34-259c
                      shall apply.

           (i)       In addition to any restriction or condition set
                     forth in the operating agreement, a limited
                     liability company, as a matter within the ordinary
                     course of its activities and affairs, may impose
                     reasonable restrictions and conditions on access to
                     and use of information to be furnished under this
                     section, including designating information
                     confidential and imposing nondisclosure and
                     safeguarding obligations on the recipient. In a
                     dispute concerning the reasonableness of a
                     restriction under this subsection, the company has
                     the burden of proving reasonableness.

It is appropriate to allow the holder of a charging order to

have the same access to the limited liability company's books

and records as the member whose interest is being charged.


CONCLUSION

          The charging orders should be granted as requested by

Plaintiff 145 Sisson Avenue, LLC.




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                                                                                                                             Avenue,
                                                   LLC
                                            FORD & PAULEKAS, LLP
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                                                                     : e~t~ ----;:S:;-:-u:--:i:; --:t::-:
                                                                                                    ;: e=-----:2~2:;-;0~0'
                                        _,.,--H~-rflord , CT 06103
                                            Direct: (860) 808-4213
                                           Mobile: (860) 543-4372
                                            Fax: (860) 249-7500
                                            Email: PTL@HPLowry.com
                                            Federal Bar# CT05955

                                             CERTIFICATE OF SERVICE

     I hereby certify that a copy of the attached was mailed
on this 12 th day of June, 2024 to:
Aron Puretz
43 Fenway Circle
Staten Island, New York 10308-1240
Hoyt Bedford Limited Partnership
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109
Hoyt Bedford Manager LLC
Agent: VCORP SERVICES, LLC
108 W. 13TH STREET-SUITE 100
WILMINGTON, DE 19801
Apex Equity Group LLC
Agent: THE CORPORATION TRUST COMPANY
CORPORATION TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19801

PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109


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PAXE HARTFORD PORTFOLIO GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

PAXE GARDEN LIMITED PARTNERSHIP
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

PAXE GARDEN GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

PAXE HARTFORD PORTFOLIO GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

CLEMENS PLACE CT LIMITED PARTNERSHIP
526 Westchester Road
Colchester, CT 06415-2228

CLEMENS MANAGER LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

ASYLUM HILL APT LLC
Agent: VCORP SERVICES, LLC
67 Burnside Avenue
East Hartford, CT, 06108

FHTDD, LP
Agent: Baruch Drillman
110 Hill Street-Suite lE
Newark, New Jersey 07102




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FHT Manager, LLC
Agent: Boruch Drillman
110 Hill Street-Suite lE
Newark, New Jersey 07102




                                                                                                       Esq.




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     EXHIBIT 1
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                                                                                           ORDER 402017
DOCKET NO: MMXCV126008253S                                   SUPERIOR COURT

JENZACK PARTNERS, LLC                                        WDICIAL DISTRICT OF MIDDLESEX
  V.                                                          AT MIDDLETOWN
STONERIDGE ASSOCIATES, LLC Et Al
                                                             4/17/2017



                                                   ORDER


ORDER REGARDING:
03/02/2017 224.00 APPLICATION FOR ORDER TO SHOW CAUSE WITH SUMMONS AND
RETURN

The foregoing, having been considered by the Court, is hereby:

ORDER:GRANTED

After hearing at which counsel for the plaintiff and counsel for Patrick Snow appeared, IT IS HEREBY
ORDERED:
 1. The interest of Patrick T. Snow in the limited liability company known as Kane Street Associates
LLC is charged with payment of the unsatisfied amount of the judgment debt and also with costs and
interest.
2. The limited liability company is directed to pay plaintiff Jenzack Partners, LLC present and future
share of any and all distributions, credits, drawings or payments due to defendant Patrick T. Snow until
the judgment is satisfied in full including interests and costs.
3. Until said judgment is satisfied in full including interest and costs, the limited liability company shall
make no loans to Patrick T. Snow or to any family member of Patrick T. Snow.
4. Until said judgment is satisfied in full, including interest and costs, the limited liability company shall
make no capital acquistions without Court approval or approval of plaintiff Jenzack Parters, LLC.
5. Until said judgment is satisfied in full, including interest and costs, neither the limited liability
company nor its members shall undertake, enter into or consummate any sale, encumbrance,
hypothecation, or modification of any interest of Patrick T. Snow in the limited liability company
without either Court approval or approval of plaintiff Jenzack Partners, LLC.
6. Within ten days of service of a copy of this Order upon any general partner of the limited liability
company, the limited liability company shall supply to plaintiff Jenzack Partners, LLC a full, complete
and accurate copy of the limited liability company Agreement, including any and all amendments or
modifications thereto; true, complete, and accurate copies of any and all Federal and State income tax or
informational income tax returns filed within the past two years; balance sheets and profit and loss
statements for the past two years; and balance sheet and profit and loss statement for the most recent
present period for which same has been computed. Further, upon ten-day notice from the plaintiff to the
limited liability company, all books and records shall be produced for inspection, copying, and
examination in the plaintiffs office or plaintiffs counsel's office.
7. Until said judgment is satisfied in full, including all costs and interest thereon, all future statements
reflecting cash position, balance sheet position, and profit and loss, Kane Street Associates, L.L.C. shall
supply to plaintiff Jenzack Partners, LLC within thirty days of the close of the respective accounting
period for which said data is or may be generated.
8. The Order set forth in Paragraph One is exclusive of any amounts payable to defendant Patrick T.
Snow under a properly asserted legal exemption right if same is properly claimed within twenty days of
the service of a copy of this Order. Breach of this Order Upon due application to this Court shall be
considered a contempt of this Court and may be punishable by fine or imprisonment or both.
Upon due application, plaintiff Jenzack Partners, LLC may apply to this Court for further modification
of this Order in the event the plaintiff feels he has cause to seek the appointment of a receiver for limited
liability company Kane Street Associates, L.L.C. or the sale of the debtor's interest in limited liability
MMXCV126008253S           4/17/2017                                                               Page 1 of2
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company Kane Street Associates, L.L.C. as provided by law.

Judicial Notice (JDNO) was sent regarding this order.

                                                   402017

                                                   Judge: JULIA L AURIGEMMA
                                                   Processed by: Suphi Philip




MMXCV 126008253 S       4/17/2017                                               Page 2 of 2
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     EXHIBIT 2
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        Case 3:17-mc-00179-VLB Document 16 Filed 04/25/18 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

WILLIAM N. BERNARD AND WILLIAM
N. BERNARD AND CATHERINE H.
BERHARD REVOCABLE LIVING TRUST
           PLAINTIFFS                              CASE NO. 3:17-mc-179 VLB

v.
LEONARD VINCENT LOMBARD, LVG                      APRIL 25, 2018
HOLDING COMPANY D&L #1200, LLC
LEONARDVINCENT GROUP, INC.,
BRIAN A. HUDLIN, LOUIS M. LOMBARDI
AND DANIEL GAMBINO
           DEFENDANTS


                                      CHARGING ORDER

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

        1.   The interest of Leonard Vincent Lombardo in the limited liability

 company known as Clearette Cigarette Co. LLC is charged with payment of

 the unsatisfied amount of the judgment debt herein and also with costs and

 interest.

       2.    The limited liability company is directed to pay Plaintiffs present

 and future shares of any and all distributions, credits, drawings, or payments

 due to Defendant Leonard Vincent Lombardo until the judgment is satisfied in

full, including interest and costs.

       3.    Until said judgment is satisfied in full, including interest and

costs, the limited liability company shall make no loans to any member

or anyone else.




                                                                                   1
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       Case 3:17-mc-00179-VLB Document 16 Filed 04/25/18 Page 2 of 3




       4.    Until said judgment is satisfied in full, including interest and

costs, the limited liability company shall make no capital acquisitions

without either Court approval or approval of Plaintiffs.

       5.    Until said judgment is satisfied in full, including interest and

costs, neither the limited liability company nor its members shall undertake,

enter into, or consummate any sale, encumbrance, hypothecation, or

modification of any limited liability company interest without either Court

approval or approval of Plaintiffs.

      6.     Within ten days of service of a copy of this Order upon the

limited liability company, the limited liability company shall supply to

Plaintiffs a full, complete, and accurate copy of the limited liability company

operating agreement, including any and all amendments or modifications

thereto; true, complete, and accurate copies of any and all Federal and

State income tax or informational income tax returns filed within the past

two years; balance sheets and profit and loss statements for the past two

years; and balance sheet and profit and loss statement for the most recent

present period for which same has been computed. Further, upon ten-day

notice from the Plaintiffs to the limited liability company, all books and

records shall be produced for inspection, copying, and examination at

Plaintiffs' counsel's office.

      7.     Until said judgment is satisfied in full, including all costs and

interest thereon, all future statements reflecting cash position, balance sheet



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position, and profit and loss, Clearette Cigarette Co. LLC shall supply to

Plaintiffs within thirty days of the close of the respective accounting period

for which said data is or may be generated.

      8.     The Order set forth in Paragraph One is exclusive of any

amounts payable to Defendant Leonard Vincent Lombardo under a

properly asserted legal exemption right if same is properly claimed

within twenty days of the notice of this Order by the court.

Breach of this Order upon due application to this Court shall be
considered a contempt of this Court and may be punishable by fine or
imprisonment or both.

      Upon due application, Plaintiffs may apply to this Court for a further

modification of this Order, in the event the Plaintiffs feel they have cause to

seek the appointment of a receiver for Clearette Cigarette Co. LLC or the

sale of the debtor's interest in L.i mited liability company Clearette Cigarette

Co. LLC as provided for by law.

           Dated at Hartford, Connecticut, this 25 th day of April, 2018.


                                            Isl
                                       Vanessa L. Bryant
                                       United States District Judge




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     EXHIBIT 3
  Case 3:23-cv-00903-MPS Document 55 Filed 06/12/24 Page 19 of 38

     Case 3:19-cv-01386-KAD Document 107 Filed 01/29/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


ANTHONY DIPIPPA,                                    3:19-cv-01386 (KAD)
    Plaintiff,


     V.




FULBROOK CAPITAL MGMT. LLC,                         January 29, 2020
SELVYN SEIDEL,
     Defendants.



                                    CHARGING ORDER

    IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

    1. Pursuant to Conn. Gen. Stat. § 34-259b, the transferable interest of Defendant Selvyn

          Seidel in the limited liability company known as Fulbrook Capital Management LLC

          is charged with payment of the unsatisfied amount of the judgment debt herein.

    2. The limited liability company is directed to pay over to Plaintiff Anthony DiPippa the

          present and future shares of any and all dist1ibutions, as defined in Conn Gen. Stat. §

          34-243a(8), due to member Selvyn Seidel until the judgment is satisfied in full.

    3. The Order set forth in Paragraph One is exclusive of any amounts payable to Defendant

          Selvyn Seidel under a properly asserted legal exemption right if same is properly

          claimed within twenty days of the issuance of this Order.

    Pursuant to Conn Gen. Stat. § 34-259b(b )(2), the Court further ORDERS that:

    4. Until said judgment is satisfied in full, the limited liability company shall make no

          loans to any member or anyone else.
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 5. Until said judgment is satisfied in full, the limited liability company shall not unde1iake,

    enter into, or consummate any sale, encumbrance, hypothecation, or modification of

    any membership interest without Court approval.

 Plaintiff Anthony DiPippa may move for a further modification of this Order as may be

 permitted by law. The Plaintiff shall serve Fulbrook Capital Management LLC with a copy

 of this Order within 14 days.

 SO ORDERED at Bridgeport, Connecticut, this 29th day of Januaiy 2020.

                                        Isl Kari A. Dooley
                                        KARI A. DOOLEY
                                        UNITED STATES DISTRICT JUDGE
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      EXHIBIT 4
Case 3:23-cv-00903-MPS Document 55 Filed 06/12/24 Page 22 of 38




                                     10211 MAY IO A 9: 06
 OSPREY PORTFOLIO, LLC                                J. D. of STAMFORD/NORWALK

        V.                                               AT STAMFORD

 FRED WILMOT                                              MAY 10, 2024



                            MEMORANDUM OF DECISION


        The plaintiff, Osprey Portfolio, LLC, is seeking Charging Orders concerning the

 "transferable interest" of the defendant, Fred Wilmot, in the distributions of four separate

 Connecticut LLCs. The first four Applications for a Charging Order, all dated September 26,

 2023 , were filed under the incorrect Connecticut statute. (#140.00, #141.00, #142.00 and

 #143.00). The Applications were twice denied by the comi, once on the motion in chief and

 once on a motion to reargue. The plaintiff is now proceeding under Gen. Stat.§ 34-259b, which

 was effective July 1, 2017.


        "(a) On application by a judgment creditor of a member or transferee, a court may enter
        a charging order against the transferable interest of the judgment debtor for the
        unsatisfied amount of the.judgment. Subject to subsection (e) of this section, a charging
        order constitutes a lien on a judgment debtor's transferable interest and requires the
        limited liability company to pay over to the person to which the charging order was
        issued any distribution that otherwise would be paid to the judgment debtor. To the
        extent that the transferable interest of the judgment debtor is so charged, the judgment
        creditor has only the right to receive any distribution or distributions to which the
        judgment debtor would otherwise have been entitled in respect of such transferable
        interest.
        (b) To the extent necessary to effectuate the collection of distributions pursuant to a
        charging order in effect under subsection (a) of this section, the court may: (1) Appoint a
        receiver of the distributions subject to the charging order, with the power to make all
        inquiries the judgment debtor might have made; and (2) make all other orders necessary
        to give effect to the charging order.
        (c) The member or transferee whose transferable interest is subject to a charging order
        under subsection (a) of this section may extinguish the charging order by satisfying the
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        judgment and filing a certified copy of the satisfaction with the court that issued the
        charging order.
        (d) A limited liability company or one or more members whose transferable interests are
        not subject to the charging order may pay to the judgment creditor the full amount due
        under the judgment and thereby succeed to the rights of the judgment creditor, including
        the charging order.
        (e) The entry of a charging order is the exclusive remedy by which a person seeking to
        enforce a judgment against a member or transferee may, in the capacity of judgment
        creditor, satisfy the judgment from the judgment debtor's transferable interest. With
        respect to the judgment debtor's transferable interest, attachment, garnishment,
        foreclosure or other legal or equitable remedies are not available to the judgment
        creditor, whether the limited liability company has one member or more than one
        member.
        (f) Sections 34-243 to 34-283d, inclusive, do not deprive any member or transferee of
        the benefit of any exemption laws applicable to the transferable interest of the member
        or transferee."
 Gen. Stat. § 34-250b

        The judgment was first obtained against the defendant, Fred Wilmot, by the then

 plaintiff, First Union National Bank, in a civil action pending in the Superior Cami, judicial

 district of Stamford/Norwalk at Stamford, Docket Number FST CV-XX-XXXXXXX S. After almost

 two years of litigation the parties submitted an executed extensive sixteen-page Stipulation that

 was filed as a pleading on Janua1y 31, 2001. (#114.00). (See #100.31, Exhibit A at pages 5

 through 20 in the current filef Judgment entered in accordance with the Stipulation in favor of

 First Union National Bank as against Fred Wilmot. (#113.00). The underlying litigation sought

 to collect on a March 18, 1997 $20,000 note entered into by Fred Wilmot in favor of First Union

 National Bank. Thereafter some collection efforts were engaged in by the plaintiff Bank

 including the filing of executions and a petition for examination of judgment debtor. The

 executions were returned unsatisfied. Sometime thereafter the ctment plaintiff, Osprey Portfolio,

 LLC, acquired the right to collect on the judgment and the court ordered Stipulation from First

 Union National Bank. First Union National Bank assigned the judgment against the defendant,

 Fred Wilmot, to the plaintiff, Osprey Portfolio, LLC, on November 28, 2001 (#100.31, page 22).



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  Osprey Portfolio, LLC commenced this litigation against Fred Wilmot on October 14, 2021,

 more than 20 years after the court approved the Stipulation and entered judgment in the first

 litigation.


         In this current litigation the court granted summary judgment as to liability and damages

 on February 7, 2023 (#124.01, #137.00) in favor of Osprey Portfolio, LLC as against the

 defendant, Fred Wilmot, in the amount of $164,111.82. Thereafter the plaintiff commenced

 proceedings to obtain a Charging Order against each of the four named LL Cs. As stated, the

 first four Applications for Charging Orders were denied. One month after the last denial this

 cunent December 7, 2023 Application for Charging Orders pursuant to Gen. Stat. § 34-259b

 was filed. (#151.00).


         By reason of the terms and conditions of the aforesaid Stipulation entered into by the

 parties in the First Union National Bank litigation and the passage of these many years, the

 original March 18, 1997 $20,000 promissory note executed by the defendant, Fred Wilmot, has

 increased his liability to $164,111.82 as of February 7, 2023. (#138.00). No application, request

 or motion has been filed asking that this comi or any other court revisit or recalculate the

 amount of the judgment. For the purposes of this Application for Charging Orders it is sufficient

 that the court finds that a judgment has entered, the defendant is the judgment debtor and the

 plaintiff is the judgment creditor.


         This court makes the following findings: the plaintiff's use of Gen. Stat. § 34-259b is the

 coffect legal authority for the plaintiff to obtain Charging Orders against the "transferable

 interests" distributions made by the four LLC's, the plaintiff, Osprey Po1ifolio, LLC, obtained a

 monetary judgment against the defendant, Fred Wilmot, in this litigation on February 7, 2023,

 the plaintiff, Osprey Portfolio, LLC, is a judgment creditor of the defendant, Fred Wilmot, the

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  defendant, Fred Wilmot, is the judgment debtor of that judgment, that judgment has not been

  paid in full, the four Connecticut LLCs: So. No. Holdings, LLC, W&W Holdings, LLC, So. No.

  Enterprises, LLC and Fred Wilmot, LLC, have been named specifically in the Application for

  Charging Orders dated December 7, 2023 and filed as pleading number #157.00 in this current

  litigation, the plaintiff has obtained a court order requiring that those four LLC's be furnished

  notice by service of the Application for Charging Orders and the hearing on the Application for

  Charging Orders (#151.00), four returns of service has been made demonstrating completion of

  notice to each of the four LLC's by pleading numbers #152.00, #154.00, #155.00 and #156.00,

  that each of the four LLC's were created under Connecticut law and exist as Connecticut LLC's,

  each LLC has a filing with the Connecticut Secretary of State, (#151.00, pages 14-25), Fred

  Wilmot is listed therein as the principal of each of the four LLCs, each LLC has an address of 50

  Water Street Norwalk, Connecticut, and that 50 Water Street, Norwalk, Connecticut is the

  defendant, Fred Wilmot's, address.


         This court held its duly noticed on the record court hearing on April I, 2024. Counsel of

  record for Osprey Portfolio, LLC and Fred Wilmot, both appeared. There was no appearance at

 the hearing by any of the four Connecticut LL Cs.


         This court having reviewed the transcript of the April 1, 2024 court hearing, the relevant

  documents in both Connecticut litigations, the statutory requirements of Gen. Stat. § 34-259b,

  hereby grants the Charging Order (#151.00).


         The plaintiff has provided two-page page draft copy of the proposed Charging Order.

  (#151.00). This court has reviewed the draft Charging Order in detail and finds that it complies

  with Gen. Stat. § 34-259b. Although some of the language in the requested Charging Order is

  not contained within the statute, the comi has the authority to "make all other orders necessary

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 to give effect to the charging order." Gen. Stat. § 34-259b (b ). For guidance in making that

 determination, this court has reviewed the Connecticut Judicial Branch publication entitled

 Enforcing Money Judgments and specifically Section 4, Table 3 of that publication concerning

 Charging Orders. The court fmther found guidance in Connecticut Community Bank vs A & J

 Farm Stand, LLC, Superior Court, judicial district of Stamford/Norwalk at Stamford, Docket

 Number FST CV-XX-XXXXXXX S (October 1, 2013, Karazin, JTR). Finally, this court found

 judicial authority for the exact language of the requested Charging Order inAbbett vs OYA, LLC,

 Superior Comt, judicial district of New Haven at New Haven, Docket Number NNH CV 07-

  5009253 S (June 28, 2016, Wilson, J.).


          Upon the filing of this Memorandum of Decision, this court will execute the two-page

  Charging Order found on pages 5 and 6 of the December 7, 2023 Application for Charging

  Orders (#151.00, pages 6-7) and enter it as this court's Charging Order with service to be made

  upon all appearing parties and the four named LLCs at issue.




                                                       BY THE COURT




                                                        ¼,,,"'l 2~1TK
                                                      Kevin Tierney, JT


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                                            Jf

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     EXHIBIT 5
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 2024 Edition            I
                Enforcing Money Judgments
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                              Other Research Guides

                              Bankruptcy and the Family
                        Child Support (Sec. 4: Enforcement)
                       Collection of Delinquent Property Taxes
                          Foreclosure of Condominium Liens
                              Foreclosure of Mortgages

       Foreign Matrimonial, Custody, and Support Judgments in Connecticut
                           Mechanics' Liens In Connecticut

                       Motion for Contempt in Family Matters
         Post-Judgment Proceedings in Connecticut Mortgage Foreclosures
          Prejudgment Proceedings in Connecticut Mortgage Foreclosures
                             Repossession in Connecticut




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Table 3: Charging Orders

Madison Hills Limited Partnership II v. Madison Hills, 35 Conn. App. 81, 84-85, 644
A.2d 363 (1994). "'[A] charging order ... is neither fish nor fowl. It is neither an
assignment nor an attachment.' Bank of Bethesda v. Koch, 44 Md. App . 350, 354,
408 A.2d 767 (1979). Under this procedure, a court may grant a judgment
creditor's application and issue an order charging the debtor partner's interest in
th.e partnersh ip with payment of the judgment debt. General Statutes § 34-66.
The charging order leaves the partnership intact but diverts to the judgment
creditor the debtor partner's share of the profits.

Once a judgment creditor obtains a charging order, the trial court is authorized to
make any orders and inquiries in support of the charging order."

Statutes:

•   Uniform Limited Partnership Act
    Conn. Gen. Stat. § 34-30 (2023).
    Rights of judgment creditor to charge partnership interest of partner.
    On application to a court of competent jurisdiction by any judgment creditor of
    a partner, the court may charge the partnership interest of the partner with
    payment of the unsatisfied amount of the judgment with interest. To the extent
    so charged, the judgment creditor has only the rights of an assignee of the
    partnership interest. Nothing in this chapter shall be held to deprive a partner
    of the benefit of any exemption laws applicable to his partnership interest.

•   Limited Liability Companies Act
    Conn. Gen . Stat. § 34-259b (2023).
    Charging order.
    (a) On application by a judgment creditor of a member or transferee, a court
    may enter a charging order against the transferable interest of the judgment
    debtor for the unsatisfied amount of the judgment. Subject to subsection ( e) of
    this section, a charging order constitutes a lien on a judgment debtor's
    transferable interest and requires the limited liability company to pay over to
    the person to which the charging order was issued any distribution that
    otherwise would be paid to the judgment debtor. To the extent that the
    transferable interest of the judgment debtor is so charged, the judgment
    creditor has only the right to receive any distribution or distributions to which
    the judgment debtor would otherwise have been entitled in respect of such
    transferable interest.

    (b) To the extent necessary to effectuate the collection of distributions
    pursuant to a charging order in effect under subsection (a) of this section, the
    court may: (1) Appoint a receiver of the distributions subject to the charging
    order, with the power to make all inquiries the judgment debtor might have
    made; and (2) make all other orders necessary to give effect to the charging
    order.

    ( c) The member or transferee whose transferable interest is subject to a
    charging order under subsection (a) of this section may extinguish the charging
    order by satisfying the judgment and filing a certified copy of the satisfaction
    with the court that issued the charging order.

    (d) A limited liability company or one or more members whose transferable
    interests are not subiect to the charqinq order may pay to the iudqment

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    creditor the full amount due under the judgment and thereby succeed to .the
    rights of the judgment creditor, including the charging order.

    (e) The entry of a charging order is the exclusive remedy by which a person
    seeking to enforce a judgment against a member or transferee may, in the
    capacity of judgment creditor, satisfy the judgment from the judgment debtor's
    transferable interest. With respect to the judgment debtor's transferable
    interest, attachment, garnishment, foreclosure or other legal or equitable
    remedies are not available to the judgment creditor, whether the limited
    liability company has one member or more than one member.

    (f) Sections 34-243 to 34-283d, inclusive, do not deprive any member or
    transferee of the benefit of any exemption laws applicable to the transferable
    interest of the member or transferee.

•   Uniform Partnership Act
    Conn. Gen. Stat. § 34-349 (2023).
    Partner's transferable interest subject to charging order.
    (a) On application by a judgment creditor of a partner or of a partner's
    transferee, a court having jurisdiction may charge the transferable interest of
    the judgment debtor to satisfy the judgment. The court may appoint a receiver
    of the share of the distributions due or to become due to the judgment debtor
    in respect of the partnership and make all other orders, directions, accounts
    and inquiries the judgment debtor might have made or which the
    circumstances of the case may require.

    (b) A charging order constitutes a lien on the judgment debtor's transferable
    interest in the partnership. The court may order a foreclosure of the interest
    subject to the charging order at any time. The purchaser at the foreclosure sale
    has the rights of a transferee.

    (c) At any time before foreclosure, an interest charged may be redeemed: (1)
    By the judgment debtor; (2) with property other than partnership property, by
    one or more of the other partners; or (3) with partnership property, by one or
    more of the other partners with the consent of all of the partners whose
    interests are not so charged.

    (d) Sections 34-300 to 34-399, inclusive, do not deprive a partner of a right
    under exemption laws with respect to the partner's interest in the partnership.

    (e) This section provides the exclusive remedy by which a judgment creditor of
    a partner or partner's transferee may satisfy a judgment out of the judgment
    debtor's transferable interest in the partnership.


Recent Charging Order Superior Court Cases:

•   301 Rope Ferry Road, LLC v. Tasoulas, Superior Court, Judicial District of New
     London at New London, No. CV13-5014610-S (December 15, 2017) (65 Conn .
    L. Rptr. 624) (2017 WL 6997159). "The plaintiff has moved pursuant to
    General Statutes § 34-171 (since superseded by General Statutes § 34-359b)
    that the court ' enter an order charging the Judgment Debtor, Demetrius
    Tasoulas' interest in the limited liability company "The First Oneco, LLC" (the
    'LLC') with payment of the unsatisfied amount of the Plaintiff's judgment with
    interest provided by law.'

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    In sum, the defendant holds no financial interest which would support the
    charging order .... As the movant, the plaintiff bears the burden of proving its
    right to a charging order .... The court cannot charge an interest that the
    defendant does not have, and the plaintiff has not proven any fraud by the
    defendant by means of his assignment, and the court finds that the assignment
    was legitimately made on November 24, 2008."

•   Abbett v. OYA, LLC, Superior Court, Judicial District of New Haven at New
    Haven, No. CV075009253 (June 28, 2016) (62 Conn. L. Rptr. 537) (2016 WL
    4071514) (2016 Conn. Super. LEXIS 1855). "Accordingly, as the court
    previously noted, if the LLC's assets and finances have not yet been fully
    distributed and resolved following dissolution and winding up, then the court
    may still issue a charging order against a member's interest. See Connecticut
    Community Bank v. A & J Farm Stand, LLC, Superior Court, judicial district of
    Stamford-Norwalk, Docket No. CV-XX-XXXXXXX-S (October 1, 2013, Karazin,
    J.T.R.)."

•   Voll v. Dunn, Superior Court, Judicial District of Waterbury at Waterbury, No.
    X10UWYCV126018520 (Nov. 10, 2014) (2014 WL 7461644) (2014 Conn.
    Super. LEXIS 2849). "There is no dispute that a charging order obtained
    pursuant to Section 34-171 does not confer ownership or voting rights. Conn.
    Gen. Stat. § 34-171. Metcoff v. NCT Group, Inc., 2012 WL 6901181 (Conn.
    Super.) (Taylor, J. December 20, 2012) [55 Conn. L. Rptr.]. The judgment
    creditor who obtains a charging order does not step into the shoes of the LLC
    member in the management or affairs of the LLC. See, Rockstone Capital, LLC
    v. Marketing Horizons, LTD, 2013 WL 4046597 (July 17, 2013, Young, J.) [56
    Conn. L. Rptr. 574]. The question posed is whether this is a judgment
    creditor's only avenue for pursuing the debtor's LLC interests."
    (Emphasis added.)

•   Mack Film Development, LLC et al. v. Benevolent Partners, L.P. et al., Judicial
    District of Bridgeport at Bridgeport, No. CV104033543S (Feb. 6, 2014) (2014
    WL 929702) (2014 Conn. Super. LEXIS 306) . "The court may therefore order
    further disclosure of financial information or other actions beyond the
    defendant debtors' rights as limited partners as are necessary to effectuate the
    charging order, but may not make orders on the partnership to produce
    information beyond the defendant debtors' right to information if such orders
    are not related to the plaintiff creditors' specific efforts to obta in payment from
    the defendant debtors' interest in JHJ Limited Partnership, LP."


•   Forms and Commentary: Library of Connecticut Collection Law Forms, by
    Robert M. Singer, Connecticut Law Tribune, 2015 .
           o  Chapter 17: Commentary - Postjudgment Procedures
                  • Form 17-027:
                        Application for Charging Order
                        Affidavit in Support of Charging Order
                        Charging Order
                        Enforcement Order




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     EXHIBIT 6
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DOCKET NUMBER                                   SUPERIOR COURT


[NAME OF PLAINTIFF]                             JDOF - - - - -


V.                                              AT - - - - - -


[NAME OF DEFENDANT]                             [DATE]


                                       CHARGING ORDER


[NAME OF ENFORCEMENT CREDITOR]


[NAME OF ENFORCEMENT]




[AMOUNT OWING]


The amount outstanding is as follows


Money Judgment                             $- - - - - -



Plus Costs                                 $- - - - - -



Plus Post Judgment Interest                $- - - - - -



Less Payments                              $- - - - - -



Balance Due                                $- - - - - -
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                                   ENFORCEMENT ORDER


An order is made against [NAME AND ADDRESS OF JUDGMENT DEBTOR] imposing a
charge on the judgment's debtor's interest in the following property:


               [DESCRIBE PROPERTY TO BE CHARGED]
               [ATTACH LEGAL DESCRIPTION OF PROPERTY, IF APPLICABLE]


       EFFECT OF ORDER


This order is to be served on


       [JUDGMENT DEBTOR]


       [ANY OTHER PARTY WITH AN INTEREST IN SAID PROPERTY]


After being served with this order, the following parties are hereby restrained, from selling
transferring, encumbering or otherwise dealing with the charged property, absent further order of
the Court


       [NAME AND ADDRESS OF EACH PERSON· TO WHOM RESTRAINING ORDER
APPLIES]


       Dated- - - - - -


       BY- - - - - - - - - - - - -


       JUDGE/CLERK
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     EXHIBIT 7 ,
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                                         ..:UDiC IAL Dl STH1CT
DOCKET NO. FST-CV21-6053898-S                                     SUPERIOR COURT
                                        20Zll Mt;Y IO A 9: 06
OSPREY PORTFOLIO, LLC                                             J.D. OF STAMFORD
                                                                  AT STAMFORD
V.

FRED WILMOT, INDIVIDUALLY

                                       CHARGING ORDER

        After the foregoing came before this Court for a hearing, IT IS HEREBY ORDERED,

        ADJUDGED, AND DECREED that:

     1. The interests of the Defendant/Judgment Debtor, Fred Wilmot, in the Connecticut

         limited liability companies known as So. No. Holdings, LLC, W&W Holdings, LLC,

         So. No. Enterprises, LLC, and Fred Wilmot, LLC (collectively the "Companies") are

         charged with payment of the unsatisfied amount of the judgment debt in this case and

         also with post judgment interest.

     2. Within 20 days of the entry of this Charging Order, the Defendant/Judgment Debtor,

         Fred Wilmot, is ordered to provide the complete name and current mailing address of

         the managing member of each of the Companies.

     3. The Companies are each directed to pay the Plaintiff present and future shares of any

        and all distributions, credits, drawings, or payments due to the Defendant until the

        judgment is satisfied in full, including attorneys' fees, interest and costs.

     4. Until said judgment is satisfied in full, including attorneys' fees and post-judgment

        interest and costs, the Companies shall make no loans, directly or indirectly, to or for the

        benefit of the Defendant or other pa1iners or anyone else for the benefit of the Defendant

        without further Order of this Comi.
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 5. Within 20 days of service of a copy of this Order upon any members of the Companies,

    the Companies shall supply to the Plaintiff full, complete and accurate copies of the

    Companies'. Operating Agreements or other organizational documents including any and

    all amendments or modifications thereto; true, complete and accurate copies of any and .

    all Federal and State income tax or informational income tax returns filed within the past

    two years; balance sheets and profit and loss statements for the past two years; and

    balance sheet and profit and loss statements for the most recent present period for which

    same have been computed. Further, upon twenty-day notice from the Plaintiff to the

    Companies, all books and records shall be produced for inspection, copying and

    examination in the Plaintiffs counsel 1s office.

6. Until said judgment is satisfied in full, including all costs and interest thereon, the

    Companies shall supply the Plaintiff, within thirty days of the close of the respective

    accounting period for which said data is or may be generated, all future statements

   reflecting cash position, balance sheet position, and profit and loss.




                                          Judge/Clet:k/Assistat½t ffierk
